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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                      Norfolk Division



 STERLING L. JENNINGS, et al.,

              Plaintiffs,

  V.                                                       CIVIL ACTION NO. 2:17cv427


 ROUNDPOINT MORTGAGE
 SERVICING CORPORATION, et al.,

              Defendants.


                                 MEMORANDUM FINAL ORDER


       This matter comes before the court on the Defendant Equity

 Trustees, LLC's (^^Equity Trustees") Motion for Summary Judgment

  ("Motion")       and    accompanying         Memorandum       in   Support,    filed   on

  January 18, 2019. EOF Nos. 80, 81. Plaintiffs Sterling L. Jennings

  and Deirdre D. Jennings, who are represented by counsel, did not

 file a response to Equity Trustees' Motion. For the reasons below.

 Equity Trustees' Motion is GRANTED.

                                  I. PROCEDURAL HISTORY


       On August 11, 2017, Defendant RoundPoint Mortgage Servicing

  Corporation ("RoundPoint Mortgage") removed this case from the

  Circuit   Court        for    the   City     of    Suffolk.    ECF    No. 1.   In   their

  Complaint,       Plaintiffs         claim    that        Defendant    Equity   Trustees

  breached its Deed of Trust with Plaintiffs when Equity Trustees

  completed    a    foreclosure         sale    of     Plaintiffs'       property. Compl.

  SISI 30-32, 56.        Plaintiffs     also        make    claims     against   Defendant
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  RoundPoint Mortgage regarding their foreclosure sale. Id.                         26,

  38, 52. Plaintiffs claim they are entitled to rescission of the

  foreclosure sale. Id. SI 53.

        The parties engaged in discovery on Plaintiffs' claims, which

  concluded    on   August 14,    2018. ECF No. 22.            On   August 31,   2018,

  RoundPoint     Mortgage    filed     a    Motion   for   Summary    Judgment,     ECF

  No. 42, which this court granted On November 13, 2018. ECF No. 70.

  The Clerk entered judgment in favor of RoundPoint Mortgage based

  on this court's summary judgment Order. ECF No. 72. On December 12,

  2018, Plaintiffs filed a Notice of Appeal of this court's Order

 granting summary judgment to RoundPoint Mortgage. ECF No. 74. On

  January 18, 2019, Equity Trustees filed the instant Motion. ECF

  No. 80. Plaintiffs did not file a response within the fourteen

  (14) days provided by Local Civil Rule 7 of the Local Rules for

  the   United   States     District       Court   for   the   Eastern   District    of

  Virginia, or at any time thereafter. Equity Trustees' Motion is

  now ripe for review.

                                 II. JURISDICTION


        As an initial matter, this court has jurisdiction to consider

  Defendant Equity Trustees' Motion, even                  though Plaintiffs have

  filed a Notice of Appeal on the summary judgment entered in favor

  of    Defendant    RoundPoint      Mortgage.       A   district     court   retains

  jurisdiction over a case until such time as a final decision is

  made, disposing of all issues and parties in the case, unless an
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  appropriate interlocutory appeal is filed. E.g., Keena v. Groupon,

  Inc./    886    F.3d     360,     362-63     (4th   Cir.     2018)   (outlining    the

  circumstances in which an appellate court may acquire jurisdiction

  over a case); see 28 U.S.C. § 1291 (courts of appeals ^'shall have

  jurisdiction of appeals from all final decisions of the district

  courts of the United States . . .                   .


          Here,   this    court retains jurisdiction             because     Plaintiffs'

  Notice of Appeal was premature. See Ruby v. Sec'y of the U.S. Navy,

  365 F.2d 385, 389 (9th Cir. 1966) cert, denied, 386 U.S. 1011

  (1967), cited with approval in Grigqs v. Provident Consumer Disc.

  Co., 459 U.S. 56, 58 (1982) (appeal from an unappealable order

  does not divest the district court of jurisdiction over the case).

  Plaintiffs' Notice of Appeal was not taken from a final decision

  in the case, as required under 28 U.S.C. § 1291. To be a '^final

  decision" pursuant to 28 U.S.C. § 1291(a), the court's order must

 "be final not only as to all the parties, but as to the whole

  subject-matter         and   as   to   all   the    causes   of   action    involved."

  Andrews v. United States, 252 U.S. 334, 340 (1963). This court's

  November 13, 2018 Order granting summary judgment to RoundPoint

  Mortgage did not address Plaintiffs' pending claims against Equity

  Trustees, the other Defendant in this case, and thereby was not a

  final decision in the case.
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        Moreover, Plaintiffs' Notice of Appeal also does not meet any

  of   the   conditions       for    an    interlocutory      appeal.          Interlocutory

  appeals, in which an appeal is permitted prior to the entry of a

 final order in the case, are allowed only in narrow, enumerated

 circumstances, such as when the court issues an order regarding an

 injunction,     the        appointment of a           receiver,    or    the       rights and

 liabilities     of     parties      to     an    admiralty       case.    See      28    U.S.C.

 § 1292(a)(1)-(3).           Here,   Plaintiffs'         appeal     as    to     the     summary

 judgment in favor of RoundPoint Mortgage does not fit into one of

 the    narrow        categories       where       an     interlocutory             appeal   is

 appropriate,         and    the    court       will    proceed    to     consider       Equity

 Trustees' Motion, which is now ripe for review.

                              III. UNCONTROVERTED FACTS


        The following facts here are taken from Equity Trustees'

 Memorandum in Support of its Motion. EOF No. 81. When a party fails

 to    respond   to     a     motion      for    summary    judgment,          it    '"leave[s]

  uncontroverted those facts established by the motion." Custer v.

 Pan Am. Life Ins. Co., 12 F.Sd 410, 416 (4th Cir. 1993); see Fed.

 R. Civ. P. 56(c)(1); E.D. Va. Local Civ. R. 56(B) ("In determining

  a motion for summary judgment, the Court may assume that facts

 identified by the moving party in its listing of material facts

  are admitted, unless such a fact is controverted in the statements

  of genuine issues filed in opposition to the motion."). In its

 Memorandum      in    Support,      Equity       Trustees    set        forth      undisputed
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  material facts in this case, and cited to the record in support of

  each   of   its    factual      contentions.         ECF       No. 81   at 2-3.     Because


  Plaintiffs     have    failed       to respond to Equity Trustees' Motion,

  Equity Trustees' factual assertions are accepted as uncontroverted

  for the purposes of this Motion. See Custer, 12 F.3d at 416; Fed.

  R. Civ. P. 56(c)(1); E.D. Va. Local Civ. R. 56(B).

         On June 10, 2015, Plaintiffs obtained a loan from Movemement

  Mortgage,      LLC,    which        was     insured       by    the     Federal     Housing

 Administration. ECF        No. 81 at 2. Plaintiffs executed                     a   Note   and


  Deed of Trust securing the loan with the subject property, 408

 Quaker Ridge Court, Suffolk, Virginia 23435. Id. Servicing of the

 loan transferred to RoundPoint Mortgage on August 1, 2015, and the

  rights   and    interest       in    the     Deed    of    Trust      were    assigned     to

 RoundPoint Mortgage on March 1, 2017. Id. After August 30, 2016,

 Plaintiffs stopped making monthly mortgage payments. Id.

         On December 1, 2016, RoundPoint Mortgage sent Plaintiffs a

 letter,      stating    ''[t]he       Federal        Housing      Administration       (FHA)

 requires mortgage servicers to attempt to schedule a face-to-face

  meeting with Customers with past due accounts to discuss possible

 repayment options." Id. The letter further stated;

              If we do not hear from you, then we may send
              a representative to the property address
              listed above in an attempt to contact you.
              Please contact us within 14 calendar days of
              this      letter    to        schedule    the       face-to-face
              meeting     or     to    notify    us     that      you   are    not
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              interested in participating in a face-to-face
              meeting.

  Id. Plaintiff Deirdre Jennings acknowledged receiving the letter,

  and testified in her deposition that she placed a telephone call

  to RoundPoint Mortgage in response to the letter. Id. at 3.

        On or about December 22, 2016, a RoundPoint Mortgage agent

  and/or employee traveled to Plaintiffs' property and met with

  Plaintiffs.   Id.   In   a   letter   dated   January 4, 2017,   RoundPoint

  Mortgage notified Plaintiffs that the loan was in default, and

 failure to cure the default by February 10, 2017 could result in

  RoundPoint Mortgage's initiation of foreclosure proceedings. Id.

 By April 26, 2017, Plaintiffs failed to cure the default specified

  in   the   January 4,    2017   notice.   Id.   RoundPoint   Mortgage   then

  accelerated the amounts due under the Note and Deed of Trust and

  appointed Equity Trustees to conduct a foreclosure sale of the

  mortgaged property. Id. Equity Trustees conducted a foreclosure

  sale of the property on May 2, 2017. Id.

                               IV. LEGAL STANDARD


        Summary judgment pursuant to Federal Rule of Civil Procedure

  56 is appropriate when the court, viewing the record as a whole

  and in the light most favorable to the nonmoving party, finds there

  is no genuine issue of material fact and that the moving party is

 entitled to judgment as a matter of law. Anderson v. Liberty Lobby,

  Inc., 477 U.S. 242, 248-50 (1986). A court should grant summary
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  judgment if the nonmoving party, after adequate time for discovery,

  has failed to establish the existence of an essential element of


  that party's case, on which that party will bear the burden of

  proof at trial. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).

        The nonmoving party's failure to respond to a motion for

  summary judgment ^Moes not fulfill the burdens imposed on moving

  parties by Rule 56." Custer, 12 F.3d at 416. Rather, the court

  must still review the motion, regardless of the fact that it is

  unopposed, and "determine from what it has before it whether the

  moving party is entitled to summary judgment as a matter of law."

  Id.


                                  V. ANALYSIS


        Plaintiffs claim that Equity Trustees breached its Deed of

  Trust with    Plaintiffs     by advertising     the     foreclosure     sale   of

  Plaintiffs' property when it was on notice that RoundPoint Mortgage

  had failed to complete necessary preconditions of foreclosure.

  Compl.   SI 30-32.     Plaintiffs   further   claim    that    Equity   Trustees

  ^'knowingly   and    willfully foreclosed     on   the   Plaintiffs      without

  completing their due diligence to verify the status of the debt

  owed." Id.    SI 56.   However, both   of these       claims   must fail as a

  matter of law, because they are not supported by the uncontroverted

  facts of this case.
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                                                A.


        The uncontroverted facts^ show that Equity Trustees did not

  breach    its    Deed     of      Trust    with    Plaintiffs       by    advertising        the

 foreclosure        sale       of   Plaintiffs'      property.       Although        Plaintiffs

 claim that this was a breach because Equity Trustees was on notice

  of    RoundPoint         Mortgage's          failure        to     complete          necessary

  preconditions of foreclosure, the uncontroverted facts show that

 RoundPoint         Mortgage          fulfilled       necessary           preconditions         of

 foreclosure.           RoundPoint     Mortgage       sent    Plaintiffs         a    letter    on

  December 1,          2016,     to   schedule       a   face-to-face         meeting       with

  Plaintiffs; RoundPoint Mortgage had a face-to-face meeting with

  Plaintiffs       on    December 22,        2016;    and    RoundPoint       Mortgage     sent

  Plaintiffs a letter on January 4, 2017, advising them that their

 loan      was    in     default,      and    failure       to     cure    the       default    by

  February 10,          2017,       could     result     in        RoundPoint         Mortgage's

  initiation of foreclosure proceedings.

        None of these facts establish a claim that Equity Trustees

  had notice of any legal wrong suffered by Plaintiffs, and in fact

  they affirmatively show that RoundPoint Mortgage complied with

  several        preconditions         of    foreclosure.          The     Federal       Housing

  Administration          C'FHA") requires that, for all federally-insured

  mortgages, "[t]he            mortgagee must have            a face-to-face interview




        ^ See supra Part III.

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  with the mortgagor, or make a reasonable effort to establish such

  a   meeting,    before      three full monthly installments                  due on    the

  mortgage are unpaid." 24 C.F.R. § 203.604. The FHA further requires

  that ^^prior to initating any action required by law to foreclose

  the mortgage, the mortgagee shall notify the mortgagor in a format

  prescribed by the Secretary that the mortgagor is in default and

  the mortgagee intends to foreclose unless the mortgagor cures the

 default." 24 C.F.R. § 203.606.

        RoundPoint Mortgage complied with the face-to-face meeting

  requirement     when    its      sent the        Plaintiffs its       December 1,     2016

 letter    seeking       to   schedule        a    face-to-face     meeting,     and    when

  RoundPoint Mortgage and Plaintiffs had their face-to-face meeting

 on December 22, 2016.2 RoundPoint Mortgage also complied with the

  notice of default requirement when it sent Plaintiffs a letter on

  January 4, 2017, advising them that their loan was in default, and

 failure to cure the default by February 10, 2017, could result in

  RoundPoint Mortgage's initiation of foreclosure proceedings. These

  uncontroverted     facts         do   not       support   a   claim   that    RoundPoint

  Mortgage       failed       to    complete          necessary     preconditions         of




      2 The circumstances of the letter and subsequent meeting made
 clear that these actions were taken to comply with 24 C.F.R.
 § 203.604. In its December 1, 2016 letter, RoundPoint Mortgage
 advised Plaintiffs that ^^[t]he Federal Housing Administration
 (FHA) requires mortgage servicers to attempt to schedule a
 face-to-face meeting with Customers with past due accounts to
 discuss possible repayment options." ECF No. 81 at 2.
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  foreclosure; and, consequently. Equity Trustees did not advertise

  the foreclosure sale of Plaintiffs' property when it was on notice

  that    RoundPoint         Mortgage   had    failed    to   complete      necessary

  preconditions        of    foreclosure.     Equity    Trustees    is   entitled   to

  summary judgment on this claim by Plaintiffs.^

                                              B.


         The uncontroverted facts^ also fail to support Plaintiffs'

  claim that Equity Trustees knowingly and willfully foreclosed on

  the Plaintiffs without completing their due diligence to verify

  the    status   of   the   debt   owed.   The    uncontroverted   facts   are   that


  after August 30, 2016, Plaintiffs stopped making monthly mortgage

  payments; by April 26, 2017, Plaintiffs had failed to cure the

  default in their loan from RoundPoint Mortgage; and on April 26,

  2017, RoundPoint Mortgage accelerated the amounts due under the

  Note and Deed of Trust.


         These facts do not support a claim that Equity Trustees failed

  to verify the status of Plaintiffs' debt prior to commencing

  foreclosure proceedings. Pursuant to FHA regulation, a mortgagee



       3 The court's ruling is consistent with its previous
  determination that RoundPoint Mortgage did not violate FHA
  regulations or other applicable law during the foreclosure sale of
  Plaintiffs' property. See ECF No. 70. On November 13, 2018, the
  court granted summary judgment to RoundPoint Mortgage, determining
  as a matter of law that RoundPoint Mortgage completed the necessary
  preconditions of foreclosure prior to initiating the foreclosure
  sale of Plaintiffs' property. Id.

           See supra Part III.

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  of an FHA-insured mortgage is permitted to foreclose on a mortgage

  if at least three (3) full monthly payments remain due and payable,

  assuming that the necessary preconditions of foreclosure, such as

  a notice of default, have been satisfied. 24 C.F.R. § 203.606; see

  supra Part V.A (discussing RoundPoint Mortgage's compliance with

  the   notice    of default       requirement); ECF No. 70               (court's    Order

  determining as a matter of law that RoundPoint Mortgage completed

  the necessary preconditions of foreclosure prior to initiating the

  foreclosure sale of Plaintiffs' property).^

         The    uncontroverted       facts     show    that,      at    the   time   Equity

  Trustees      conducted    a    foreclosure        sale    of   Plaintiffs'    property

  May 2,      2017,   Plaintiffs'        had   not    made    a   mortgage     payment   to

  RoundPoint Mortgage since August 30, 2016, far greater than the

  minimum of three (3) months required by the FHA. Moreover, prior

  to    the    foreclosure       sale,   RoundPoint         Mortgage    accelerated      the

  amount due under Plaintiffs' note, making Plaintiffs' entire debt

  to RoundPoint Mortgage due and payable.

         Under    these     facts,       the   debt    that       the   Plaintiffs    owed

  RoundPoint Mortgage was properly established and owing at the time

  that Equity Trustees conducted a foreclosure sale on May 2, 2017.

  Plaintiffs' claim that Equity Trustees failed to verify the status

  of the debt Plaintiffs owed prior to conducting a foreclosure sale




           See supra note 3.

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  is without merit under the uncontroverted facts. Assuming Equity

  Trustees had a duty to Plaintiffs here, any verification                with

  RoundPoint Mortgage would have shown the foreclosure sale to be

  permissible. Therefore, even if Equity Trustees breached that duty

  by not conducting any verification prior to the foreclosure sale.

  Plaintiffs would not be entitled to any relief because the debt

  was in fact owed by Plaintiffs; the foreclosure was not invalid

  and/or subject to being rescinded. Simply put. Plaintiffs cannot

  show that they were harmed by Equity Trustees' alleged failure to

  verify and are thereby not entitled to the relief they seek. Equity

  Trustees is entitled to summary judgment on this claim.

                                 VI. CONCLUSION


        Neither of Plaintiffs' claims against Equity Trustees are

  supported by the uncontroverted facts of this case, and Plaintiffs

  have not shown any reason why they are entitled to invalidation

  and/or rescission       of the foreclosure sale. Accordingly, Equity

  Trustees' Motion for Summary Judgment, ECF No. 80, is GRANTED. The

  Clerk   is   DIRECTED    to   enter   final   judgment   in   this   case   in

  accordance with this Memorandum Final Order, and the court's Order

  of November 13, 2018. The Clerk is further DIRECTED to send a copy

  of this Memorandum Final Order to counsel for the parties.




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        IT IS SO ORDERED
                                                             JsL
                                               Rebecca Beach Smith
                                               United States District Judge
                                             REBECCA     BEACH     SMITH
                                        UNITED STATES       DISTRICT          JUDGE
  March     , 2019




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